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10

11

12
                              UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
14

15   In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
     Litigation,
16                                                 PLAINTIFFS’ CORRECTED
                                                   TEMPORARY SEALING MOTION AND
17   This Document relates to: all actions.        NOTICE OF LODGING UNDER SEAL OF
                                                   MATERIALS PREVIOUSLY ORDERED
18                                                 SEALED IN SUPPORT OF PLAINTIFFS’
                                                   RENEWED MOTION FOR CLASS
19
                                                   CERTIFICATION
20
                                                   [Civil L.R. 7-11, 79-5(f); Standing Order
21                                                 Rule 12]
22                                                 Judge: Hon. Yvonne Gonzalez Rogers
23
                                                   Hearing Date:     TBD
24                                                 Hearing Time:
                                                   Hearing Location: Courtroom 1
25

26

27

28
                                              -1-                     4:21-cv-02155-YGR -VKD
      PLFS.’ CORRECTED TEMPORARY SEALING MOT. AND NOTICE OF LODGING OF MATERIALS PREVIOUSLY
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 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5(f), and Judge Gonzalez Rogers’ Standing Order
 3 (Civil), Rule 12, plaintiffs hereby respectfully submit this Temporary Sealing Motion. Plaintiffs cite

 4 to, summarize, and submit documents in support of plaintiffs’ Renewed Motion for Class

 5 Certification (“Renewed Motion”), filed this same date, that either plaintiffs or Google have

 6 designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” pursuant to the

 7 protective order in this case (ECF No. 59). See § II, below.

 8          Additionally, plaintiffs’ Renewed Motion cites to or attaches materials and information that

 9 have previously been ordered sealed in whole or in part by this Court. See Order (ECF 706) re. the

10 parties’ Joint Omnibus Sealing Motion (ECFs 684-688) (“Omnibus Sealing Order”). This is “in

11 part” because the Court also ordered some of the proposed information unsealed. See April 4, 2024

12 Order (ECF 690) (the “April Order”). Therefore, because another order regarding sealing some of

13 this information is not necessary, plaintiffs lodge versions of these documents consistent with the

14 Court’s sealing orders in ECF 690 and ECF 706. See § III, below.

15          CORRECTION: Plaintiffs realized after the filing of Plaintiffs’ Renewed Motion for Class

16 Certification that certain personal information was inadvertently included in the Docusign

17 attachments to certain of the named Plaintiff Declarations, specifically Exhibits 6, 7, 9, 10, and 12.

18 Upon realizing this, Plaintiffs immediately had the ECF Help Desk lock those public filings and
19 filed a Motion to Remove Incorrectly Filed Documents (ECF 751). Plaintiffs hereby submit this

20 Corrected Temporary Sealing Motion to comport with those changes. Corrected information is set

21 forth in the chart below in red font. Plaintiffs only attach hereto the newly sealed and redacted

22 Exhibits 6, 7, 9, 10 and 12 do not re-submit any other of its Exhibits in support of its Renewed Class

23 Certification Motion.

24          Plaintiffs will serve on counsel for Defendant Google, complete copies of the unredacted

25 and unsealed documents in accordance with Civil L.R. 5-1(e).

26 II.      TEMPORARY SEALING MOTION

27          In accordance with Judge Gonzalez Rogers’ Standing Order (“S.O.”) Rule 12, Procedures

28 for Filing Under Seal §(b)(i)(1), the reasons for sealing will be addressed in a forthcoming Omnibus
                                             -2-                   4:21-cv-02155-YGR -VKD
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 1 Sealing Motion, to be filed after the conclusion of briefing related to plaintiffs’ Renewed Motion.

 2 See S.O. Rule 12, Post-Briefing Omnibus Sealing Procedures §§(a) and (c).

 3   ECF No.     Document                           Redacted/    Party           Prior Order
                                                    Sealed/Not   Claiming        Sealing (if
 4                                                  Under Seal   Confidentiality applicable)
 5
     749         Plaintiffs’ Renewed Motion for     Redacted     Google             N/A
 6               Class Certification

 7    750-1      Plaintiffs’ Renewed Motion for     Sealed       Google             N/A
                 Class Certification
 8

 9   750-2       Appendix of Plaintiffs’            Not Under    N/A                N/A
                 Exhibits                           Seal
10

11   750-3       Further Declaration of             Not Under    N/A                N/A
                 Elizabeth C. Pritzker in support   Seal
12               of Plaintiffs’ Renewed Motion
                 for Class Certification
13
     750-4       Ex. 1 to Further Pritzker Decl.    Sealed       Plaintiffs;        Previously
14
                 – Expert Class Certification                    Google             ordered sealed
15               Report of Professor Zubair                                         in part in ECF
                 Shafiq July 14, 2023                                               706, but also
16               (previously filed at ECF 558-                                      unsealed in part
                 25)                                                                in ECF 690.
17

18   750-5       Ex. 1 to Further Pritzker Decl.    Redacted     Plaintiffs;        Previously
                 – Expert Class Certification                    Google             ordered sealed
19               Report of Professor Zubair                                         in part in ECF
                 Shafiq, July 14, 2023                                              706, but also
20               (previously filed at ECF 558-5)                                    unsealed in part
                                                                                    in ECF 690.
21

22   750-6       Ex. 2 to Further Pritzker Decl.    Sealed       Plaintiffs;        Previously
                 – Expert Class Certification                    Google             ordered sealed
23               Rebuttal Report of Professor                                       in part in ECF
                 Zubair Shafiq, November 29,                                        706, but also
24               2023 (previously filed at ECF                                      unsealed in part
                 643-13)                                                            in ECF 690.
25

26   750-7       Ex. 2 to Further Pritzker Decl.    Redacted     Plaintiffs;        Previously
                 – Expert Class Certification                    Google             ordered sealed
27               Rebuttal Report of Professor                                       in part in ECF
                 Zubair Shafiq, November 29,                                        706, but also
28
                                             -3-                    4:21-cv-02155-YGR-VKD
     PLFS.’ CORRECTED TEMPORARY SEALING MOT. AND NOTICE OF LODGING OF MATERIALS PREVIOUSLY
                       ORDERED SEALED RE. RENEWED MOT. FOR CLASS CERT.
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 1              2023 (previously filed at ECF                                   unsealed in part
                643-12)                                                         in ECF 690.
 2

 3   750-8      Ex. 3 to Further Pritzker Decl.   Sealed      Google            No - new
                – Supplemental Expert Class                                     document
 4              Certification Report of
                Professor Zubair Shafiq,
 5              November 8, 2024
 6   750-9      Ex. 3 to Further Pritzker Decl.   Redacted    Google            No - new
 7              – Supplemental Expert Class                                     document
                Certification Report of
 8              Professor Zubair Shafiq,
                November 8, 2024
 9
     750-10     Ex. 4 to Further Pritzker Decl. Sealed        Google;           Previously
10
                – Expert Class Certification                  Plaintiffs (re.   ordered sealed
11              Report of Professor Christopher               Table 5);         in part in ECF
                Wilson, July 14, 2023                         Third party the   706, but also
12              (previously filed at ECF 558-                 New York          unsealed in part
                26)                                           Times             in ECF 690.
13

14   750-11     Ex. 4 to Further Pritzker Decl. Redacted      Google;           Previously
                – Expert Class Certification                  Plaintiffs (re.   ordered sealed
15              Report of Professor Christopher               Table 5);         in part in ECF
                Wilson, July 14, 2023                         Third party the   706, but also
16              (previously filed at ECF 558-6)               New York          unsealed in part
                                                              Times             in ECF 690.
17

18   750-12     Ex. 5 to Further Pritzker Decl.   Sealed      Google;           Previously
                – Expert Class Certification                  Third party the   ordered sealed
19              Rebuttal Report of Professor                  New York          in ECF 706.
                Christopher Wilson, November                  Times
20              29, 2023 (previously filed at
                ECF 643-11)
21

22   750-13     Ex. 5 to Further Pritzker Decl.   Redacted    Google;           Previously
                – Expert Class Certification                  Plaintiffs (re.   ordered sealed
23              Rebuttal Report of Professor                  Table 5);         in ECF 706
                Christopher Wilson, November                  Third party the
24              29, 2023 (previously filed at                 New York
                ECF 643-10)                                   Times
25

26   750-14     Ex. 6 to Further Pritzker Decl.   Not Under N/A                 N/A
                – Declaration of Named            Seal
27              Plaintiff Terry Diggs             REMOVED
28
                                             -4-                    4:21-cv-02155-YGR-VKD
     PLFS.’ CORRECTED TEMPORARY SEALING MOT. AND NOTICE OF LODGING OF MATERIALS PREVIOUSLY
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 1   752-1      Ex. 6 to Further Pritzker Decl.     Sealed      Plaintiffs       Plfs.’ Email and
                – Declaration of Named                                           IP addresses
 2              Plaintiff Terry Diggs                                            were previously
                                                                                 ordered sealed
 3
                                                                                 in ECF 706.
 4
     752-2      Ex. 6 to Further Pritzker Decl.     Redacted    Plaintiffs       Same as above.
 5              – Declaration of Named
                Plaintiff Terry Diggs
 6

 7   750-15     Ex. 7 to Further Pritzker Decl.     Not Under N/A                N/A
                – Declaration of Named              Seal
 8              Plaintiff Rethena Green             REMOVED

 9   752-3      Ex. 7 to Further Pritzker Decl.     Sealed      Plaintiffs       Plfs.’ Email and
                – Declaration of Named                                           IP addresses
10
                Plaintiff Rethena Green                                          were previously
11                                                                               ordered sealed
                                                                                 in ECF 706.
12
     752-4      Ex. 7 to Further Pritzker Decl.     Redacted    Plaintiffs       Same as above.
13              – Declaration of Named
14              Plaintiff Rethena Green

15   750-16     Ex. 8 to Further Pritzker Decl. -   Not Under   N/A              N/A
                Declaration of Named Plaintiff      Seal
16              John Kevranian
17   750-17     Ex. 9 to Further Pritzker Decl. -   Not Under N/A                N/A
18              Declaration of Named Plaintiff      Seal
                Salvatore Toronto                   REMOVED
19
     752-5      Ex. 9 to Further Pritzker Decl. -   Sealed      Plaintiffs       Plfs.’ Email and
20              Declaration of Named Plaintiff                                   IP addresses
                Salvatore Toronto                                                were previously
21
                                                                                 ordered sealed
22                                                                               in ECF 706.

23   752-6      Ex. 9 to Further Pritzker Decl. -   Redacted    Plaintiffs       Same as above.
                Declaration of Named Plaintiff
24              Salvatore Toronto
25
     750-18     Ex. 10 to Further Pritzker Decl.    Not Under N/A                N/A
26              - Declaration of Named              Seal
                Plaintiff Christopher Valencia      REMOVED
27

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                                             -5-                    4:21-cv-02155-YGR-VKD
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 1   752-7      Ex. 10 to Further Pritzker Decl.   Sealed      Plaintiffs       Plfs.’ Email and
                - Declaration of Named                                          IP addresses
 2              Plaintiff Christopher Valencia                                  were previously
                                                                                ordered sealed
 3
                                                                                in ECF 706.
 4   752-8      Ex. 10 to Further Pritzker Decl.   Redacted    Plaintiffs       Same as above.
                - Declaration of Named
 5              Plaintiff Christopher Valencia
 6   750-19     Ex. 11 to Further Pritzker Decl.   Not Under   N/A              N/A
 7              - Declaration of Named             Seal
                Plaintiff Kimberley Woodruff
 8
     750-20     Ex. 12 to Further Pritzker Decl.   Not Under N/A                N/A
 9              - Declaration of Named             Seal
                Plaintiff Tara Williams            REMOVED
10

11   752-9      Ex. 12 to Further Pritzker Decl.   Sealed      Plaintiffs       Plfs.’ Email and
                - Declaration of Named                                          IP addresses
12              Plaintiff Tara Williams                                         were previously
                                                                                ordered sealed
13                                                                              in ECF 706.
14
     752-10     Ex. 12 to Further Pritzker Decl.   Redacted    Plaintiffs       Same as above.
15              - Declaration of Named
                Plaintiff Tara Williams.
16
     750-21     Further Declaration of Bethany     Not Under   N/A              N/A
17              Caracuzzo in support of            Seal
18              Plaintiffs’ Renewed Motion for
                Class Certification
19
     750-22     Ex. 13 to Further Caracuzzo        Not Under   N/A              N/A
20              Decl. - Google September 10,       Seal
                2015 Privacy Principles
21
                (GOOG-HEWT-00058417)
22              (previously filed at ECF 546-
                37)
23
     750-23     Ex. 14 to Further Caracuzzo     Not Under      N/A              N/A
24              Decl. - Google Privacy Policy   Seal
25              effective June 28, 2016
                previously filed at ECF 546-38)
26

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28
                                             -6-                    4:21-cv-02155-YGR-VKD
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 1   750-24     Ex. 15 to Further Caracuzzo      Not Under   N/A             N/A
                Decl. – September 20, 2018       Seal
 2              Google Safety Center - Privacy
                Principles [GOOG-HEWT-
 3
                00459543] (previously filed at
 4              ECF 546-40)

 5
     750-25     Ex.16 to Further Caracuzzo       Not Under   N/A             N/A
 6              Decl.- Google’s How Our          Seal
 7              Business Works page as of Feb.
                22, 2020 (previously filed at
 8              ECF 546-41)

 9   750-26     Ex. 17 to Further Caracuzzo      Not Under   N/A             N/A
                Decl. - Google’s Terms of        Seal
10
                Service effective March 31,
11              2020 (previously filed at ECF
                546-42)
12
     750-27     Ex. 18 to Further Caracuzzo      Not Under   N/A             N/A
13              Decl. - Google’s Terms of        Seal
                Service effective January 5,
14
                2022 (previously filed at ECF
15              546-44)

16   750-28     Ex. 19 to Further Caracuzzo      Not Under   N/A             N/A
                Decl. - Google’s Terms of        Seal
17              Service effective May 22, 2024
18
     750-29     Ex. 20 to Further Caracuzzo      Not Under   N/A             N/A
19              Decl. – Google’s Privacy         Seal
                Policy effective March 31,
20              2020 (previously filed at ECF
                546-43)
21

22   750-30     Ex. 21 to Further Caracuzzo      Not Under   N/A             N/A
                Decl. – Google’s Privacy         Seal
23              Policy effective September 16,
                2024
24
     750-31     Ex. 22 to Further Caracuzzo      Not Under   N/A             N/A
25
                Decl.- Google’s Consent Bump     Seal
26              [GOOG-HEWT-00456456]
                (previously filed at ECF 545-
27              23)
28
                                             -7-                    4:21-cv-02155-YGR-VKD
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 1    750-32      Ex. 23 to Further Caracuzzo         Not Under      N/A                 N/A
                  Decl.- Excerpts of the Nov. 15,     Seal
 2                2023 deposition of Google
                  corporate designee S. Vakharia
 3
      750-33      Ex. 24 to Further Caracuzzo         Not Under      N/A                 N/A
 4                Decl. - Google Privacy Policy       Seal
                  effective May 25, 2018
 5
                  (previously filed at ECF 546-
 6                39)

 7    750-34      Proposed Order re. Plaintiffs’      Not Under      Google              N/A
                  Renewed Motion for Class            Seal
 8                Certification
 9
      750-35      Proof of Service of Sealed          Not Under      N/A                 N/A
10                Materials                           Seal

11    752-11      Proof of Service of Corrected       Not Under      N/A                 N/A
                  Sealed Materials (Exs. 6, 7, 9,     Seal
12
                  10, and 12)
13

14
             As noted above, the new Supplemental Expert Report of Professor Zubair Shafiq, November
15
     8, 2024 (Ex. 3 to the Further Pritzker Declaration) contains new information before the Court that
16
     has not been the subject of any prior sealing motion or sealing order, and therefore is subject to S.O.
17
     Rule 12’s “Post-Briefing Omnibus Sealing Procedures.”
18

19 III.      NOTICE OF LODGING UNDER SEAL MATERIALS PREVIOUSLY ORDERED
             SEALED
20
             As set forth in the chart above, plaintiffs’ Renewed Motion attaches and relies upon certain
21
     documents that have been previously ordered sealed by this Court, specifically:
22
             Ex. 1 - Expert Class Certification Report of Professor Zubair Shafiq July 14, 2023;
23
             Ex. 2 - Expert Class Certification Rebuttal Report of Professor Zubair Shafiq, November 29,
24
     2023;
25
             Ex. 4 - Expert Class Certification Report of Professor Christopher Wilson, July 14, 2023;
26
             Ex. 5 - Expert Class Certification Rebuttal Report of Professor Christopher Wilson,
27
     November 29, 2023.
28
                                             -8-                    4:21-cv-02155-YGR-VKD
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 1          As to Exhibits 1, 2 and 4, both Google and plaintiffs moved to seal specific information

 2 within those reports pursuant to the Confidential nature of that information. Additionally, regarding

 3 Exhibits 4 and 5, third party the New York Times also moved to seal certain information within

 4 those two reports. These designations and requests were all contained within the Joint Omnibus

 5 Sealing Motion in accordance with the Court’s February 9, 2024 Order for Omnibus Sealing Motion

 6 (ECF 674; see chart in Proposed Order to the Joint Omnibus Sealing Motion (ECF 688-9) of all

 7 proposed sealing), and have been ruled upon (ECF 706).

 8          In its Omnibus Sealing Order (ECF 706) the Court granted the omnibus sealing motion “at

 9 this stage” regarding materials and information other than that relied upon and disclosed by the
10 Court’s prior order on class certification. ECF 706; emphasis added. In its April Order (ECF 690),

11 the Court relied upon and disclosed certain information that was previously conditionally sealed by

12 either plaintiffs or Google from the Shafiq July 14, 2023 Expert Report (Ex. 1), Shafiq November

13 29, 2023 Rebuttal Report (Ex. 2), Wilson July 14, 2023 Expert Report (Ex. 4), and Wilson

14 November 29, 2023 Rebuttal Report (Ex. 5). In compliance with the Omnibus Sealing Order,

15 plaintiffs therefore re-submit the prior Shafiq and Wilson reports without sealing the information

16 publicly-referenced in the April Order (ECF 690). It is plaintiffs understanding that, given the prior

17 orders, no further sealing orders are required as to plaintiffs’ Exs. 1, 2, 4 and 5.

18          ADDITIONAL INFORMATION RE. CORRECTION: In addition, Plaintiffs have

19 herewith resubmitted sealed versions of Exhibits 6, 7, 9, 10 and 12, which are certain of the Named

20 Plaintiffs’ declarations. Plaintiffs have sealed those Plaintiffs’ personal email addresses and IP

21 addresses that were included in the electronic Docusign documentation for their declarations. The

22 Court has previously ordered that the Plaintiffs’ email addresses and IP addresses that were included

23 in a table in the reports of Plaintiffs’ expert Prof. Zubair Shafiq, were sealed. See ECF 706.

24 V.       CONCLUSION

25          In accordance with Judge Gonzalez Rogers’ Standing Order Rule 12, Procedures for Filing

26 Under Seal at §(b)(i)(1), the reasons for sealing of those materials not previously ordered sealed

27 identified in the chart above will be addressed in a forthcoming Omnibus Sealing Motion, to be filed

28 after the conclusion of briefing related to plaintiffs’ Renewed Motion.
                                             -9-                    4:21-cv-02155-YGR-VKD
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 1 DATED: November 18, 2024

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   Interim Class Counsel
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                                            - 10 -                  4:21-cv-02155-YGR-VKD
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